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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF DELAWARE

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In re:                                                             :
                                                                   : Case No. 20-10766 (BLS)
QUORUM HEALTH CORPORATION, et al.,                                 :
                                                                   : Chapter 11
                                    Debtor.                        :
                                                                   :
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                                                                   :
DANIEL H. GOLDEN, AS LITIGATION TRUSTEE :
OF THE QHC LITIGATION TRUST, AND                                   :
WILMINGTON SAVINGS FUND SOCIETY, FSB, : Adv. Pro. No. 21-51190 (BLS)
SOLELY IN ITS CAPACITY AS INDENTURE                                :
TRUSTEE,                                                           :
                                                                   :
                                    Plaintiffs,                    :
                                                                   :
                  v.                                               :
                                                                   :
COMMUNITY HEALTH SYSTEMS, INC.;                                    :
CHS/COMMUNITY HEALTH SYSTEMS, INC.;                                :
REVENUE CYCLE SERVICE CENTER, LLC;                                 :
CHSPSC, LLC; PROFESSIONAL ACCOUNT                                  :
SERVICES, INC.; PHYSICIAN PRACTICE                                 :
SUPPORT, LLC; ELIGIBILITY SCREENING                                :
SERVICES, LLC; W. LARRY CASH; RACHEL                               :
SEIFERT; ADAM FEINSTEIN; AND CREDIT                                :
SUISSE SECURITIES (USA) LLC,                                       :
                                                                   :
                                    Defendants.                    :
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                                    SCHEDULING ORDER

        To promote the efficient and expeditious disposition of adversary proceedings, the

following schedule shall apply to the above-captioned adversary proceeding.

        IT IS HEREBY ORDERED that:

Fact Discovery

        1.     Initial Disclosures. Initial disclosures to be served on or before September 26,

2023.

        2.     Written Discovery Requests. Absent good cause, all requests for the production of

documents (including document subpoenas to third parties) shall be served on or before January

3, 2024. The parties agree that written discovery requests and responses may be served by email.

        3.     Written Discovery Responses. Responses to discovery requests to be served 30

days after the written discovery requests are served.

        4.     Interrogatories. Written interrogatories to parties shall be served on or before

November 1, 2023, with the exception of contention interrogatories which may be served no later

than 30 days before the close of fact discovery.

        5.     Deadline for Document Production. Document productions to be made on a rolling

basis and shall be substantially completed on or before March 1, 2024.

        6.     Privilege Logs. Privilege logs shall be substantially completed and served on or

before April 1, 2024; provided, however, that a party re-producing a prior production for which a

privilege log was served shall re-produce that privilege log contemporaneously with the

production.

        7.     Depositions. Depositions shall be completed on or before May 1, 2024.




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       8.      Requests for Admission. Requests for admission shall be served on or before May

10, 2024. Responses to any requests for admission shall be served 30 days after the requests for

admission are served.

       9.      Deadline for Fact Discovery. All fact discovery shall be completed on or before

June 10, 2024.

       10.     Third-Party Discovery. All discovery from third parties shall be completed on the

same schedule as party discovery.

Expert Discovery

       11.     Expert Disclosure and Opening Expert Reports. The parties shall disclose the

identities of any testifying expert and shall serve any expert reports pursuant to Fed. R. Civ. P.

26(a)(2)(B) (made applicable to this matter pursuant to Fed. R. Bankr. P. 7026) on any issue(s) as

to which that party bears the burden of proof no later than June 3, 2024.

       12.     Rebuttal Expert Reports. Any Party’s expert report intended to rebut any other

expert report shall be served no later than July 15, 2024.

       13.     Reply Expert Reports. Any Party’s expert report intended to reply to a rebuttal

expert report shall be served no later than August 12, 2024.

       14.     Expert Discovery Cut-Off. All expert depositions shall be completed on or before

September 30, 2024.

Dispositive Motions

       15.     Briefing Schedule for Dispositive Motions. Any dispositive motions shall be filed

and served on or before October 28, 2024. Oppositions to any dispositive motions shall be filed

on or before the earlier of (a) six (6) weeks from the filing of the motion or (b) December 9, 2024.

Reply briefs in support of any dispositive motions shall be filed on or before the earlier of (a) four



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(4) weeks from filing of the opposition or (b) January 6, 2025. The parties agree to negotiate in

good faith regarding modifying these scheduling deadlines if the early filing of a dispositive

motion results in an unworkable scheduling conflict for any party.




Dated: October 23rd, 2023                    BRENDAN L. SHANNON
Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE




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